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October 1, 2020
VIA ECF

Hon. Debra C. Freeman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

Re:    Katlyn Doe v. Darren K. Indyke and Richard D. Kahn, Co-Executors of the
       Estate of Jeffrey E. Epstein, et al.
       No. 19-cv-07771-PKC-DF

Dear Judge Freeman:

      Pursuant to the Court’s September 4, 2020 Order (ECF No. 85), Plaintiff and
Defendants Darren K. Indyke and Richard D. Kahn, Co-Executors of the Estate of Jeffrey
E. Epstein, jointly submit this status report.

       Plaintiff seeks to participate in the Epstein Victims’ Compensation Program (the
“Program”) and expects to submit her claim shortly. Should Plaintiff resolve her claims
against Defendants via the Program, the parties will thereafter promptly discontinue this
action with prejudice.

       To preserve the parties’ resources and in the interests of judicial economy, the
parties respectfully request that this case remain stayed at this time.

Respectfully submitted,


/s/ Bennet J. Moskowitz
Bennet J. Moskowitz


cc: Counsel of Record (via ECF)
